        Case: 4:18-cr-00590-ERW-JMB Doc. #: 1 Filed: 06/27/18 Page: 1 of 1 PageID #: 1
            .        '
AO 91 (Rev. 11111) Criminal Complaint


                                       UNITED STATES DISTRICT COURT                                                            FILED
                                                                        for the
                                                                                                                        JUN 2 7· 20i8
                                                     EASTERN DISTRICT OF MISSOURI
                                                                                                                       U s OISTRICi COURT
                  United States of America                                 )                                         EASTERN OISTRICi OF MO
                                                                                                                               Si.LOUIS
                                v.                                         )
                     JAMES FLANNEL
                                                                           )      Case No. 4:18 MJ 1206 JMB
                                                                           )
                                                                           )
                                                                           )
                                                                           )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                           JUNE 25, 2018                in the county of             ST. LOUIS                  in the
      Eastern            District of                 Missouri          , the defendant(s) violated:

            Code Section                                                             Offense Description

18:922(g)                                              Felon in possession of ammunition




         This criminal complaint is based on these facts:
                                                            SEE ATTACHED AFFIDAVIT




         0 Continued on the attached sheet.




                                                                                                      Printed name and title

Sworn to before me and signed in my presence.
                                          L..--{ /
Date: _ _         o_s_12_11_20_1_a_~~
                                                                                                        Judge 's signature

City and state:                         St. Louis. Missouri                        Honorable John M. Bodenhausen, U.S. Magistrate Judge
                                                                                                      Printed name and title
